                Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 1 of 30




                                              CAUSE NO. 7:22-cv-00096

NOBLE TRUCKING, LLC                              §        IN THE U.S. DISTRICT COURT
  Plaintiff                                      §
                                                 §
                                                 §
vs.                                              §        WESTERN DISTRICT OF TEXAS
                                                 §
TRICORE SALES, INC.                              §        MIDLAND DIVISION
   Defendant                                     §
                                                 §
                                                 §        MIDLAND COUNTY, TEXAS

    DEFENDANT’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(a)-(b)

          COMES NOW, Tricore Sales, Inc. (hereinafter “Tricore”), and files this Notice of Removal

of Action Under 28 U.S.C. § 1441(a)-(b). And, as grounds therefore, Defendants would

respectfully show this Court as follows:

                                                     I.

                     STATEMENT ON FACTS & PROCEDURAL HISTORY

          Plaintiff sued Defendant in the State of Colorado, on or about July 30, 2021.1 In its Original

Complaint the Plaintiff did not specify the amount of its alleged monetary damages.2 Undersigned

counsel for Defendant is only licensed to practice law within the State of Texas. Thus, over the

next following few weeks counsel for Defendant attempted to secure local counsel, licensed in

Colorado, to answer Plaintiff’s complaint in the District Court, Larimer County, Colorado.

However, counsel for Defendant was unsuccessful in these efforts. As a result, and because

Colorado State Courts require an affidavit of local counsel as a prerequisite to practicing on a pro

hac vice basis, it was impossible for Defendant to properly appear and defend its case against

Plaintiff. Thereafter, Plaintiff received a default judgment against Defendant in the aforementioned




1
    See Def’s attached Exhibit 1.
2
    Id.

                                                     1
                Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 2 of 30




Colorado State Court.3 And, on or about March 23, 2022, Plaintiff secured local counsel in

Midland, TX, for the purpose of domesticating the foregoing default judgment in the State of

Texas.4      As such, Plaintiff’s local counsel in Texas filed Plaintiff’s Original Petition for

Enforcement of Foreign Judgment on or about March 22, 2022, and such Petition specifically

states the amount of monetary damages being sought by Plaintiff.

                                    II.   POINTS & AUTHORITIES

          First, this Honorable Court has original jurisdiction over this case under 28 U.S.C. § 1331,

and is one which may be removed to this Court by Defendant pursuant to the provisions of 28

U.S.C. § 1441, in that Plaintiff is a resident of the State of Colorado, and Defendant is a resident

of the State of Texas, and thus there exists complete diversity amongst the parties hereto, and the

amount in controversy exceeds the statutory limitation required by the foregoing authorities.

Additionally, Plaintiff violated its own State’s rules of civil procedure with regard to venue, to wit,

COLO. R. CIV. P. 98, et seq. Proper venue under both Federal and State rules require that Plaintiff

bring suit in either the State District Court for the County of Midland, TX, or in the U.S. District

Court for the Western District of Texas—Midland Division, Midland County, TX. All actions,

including but not limited to the execution of the contract(s) at bar, the sale of goods made the basis

of this suit, and Defendant’s residence, are all located within Midland County, TX. This case has

likewise been filed within the 1-year time limitation prescribed by the foregoing federal venue

statutes.




3
    See Def’s attached Exhibit 2.
4
    See Def’s attached Exhibit 3.

                                                   2
             Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 3 of 30




                                         III.   PRAYER

       THEREFORE, based upon the foregoing, Defendant hereby prays that this case be

removed to the U.S. District Court for the Western District of Texas—Midland Division, located

in Midland County, TX, for further proceedings.



       Respectfully submitted,

       CRAIG, TERRILL, HALE & GRANTHAM, LLP
       9816 Slide Road, Suite 201
       Lubbock, Texas 79424
       (806) 744-3232 - Tel
       (806) 744-2211 - Fax

       /s/ B. Blaze Taylor
       B. Blaze Taylor
       SBN: 24106495
       Email: btaylor@cthglawfirm.com

       ATTORNEY FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

       THIS WILL CERTIFY that a true and correct copy of the above and foregoing has been

electronically served on all counsel of record on this the 21st day of April, 2022 by filing through

the E-File and ECF/Pacer electronic filing systems.

                                                      /s/ B. Blaze Taylor
                                                      B. Blaze Taylor
                                                      Of the Firm




                                                 3
                  Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 4 of 30
DEF'S EXHIBIT 1




                                                          DATE FILED: July 30, 2021 5:09 PM
        DISTRICT COURT, LARIMER COUNTY, COLORADO
                                              FILING ID: 2CEA547887ACE
        201 La Porte Ave.                     CASE NUMBER: 2021CV30541
        Suite 100
        Fort Collins, CO 80521
        (970) 494-3500


        NOBLE TRUCKING, LLC, a Colorado limited liability
        company,

        Plaintiff,

        v.

        TRICORE SALES, INC., a Texas corporation

        Defendant.
                                                                     COURT USE ONLY
        Attorney for Plaintiff:
        Russell J. Sprague, Atty. Reg. #40558                    Case Number:
        CLINE WILLIAMS WRIGHT JOHNSON &
        OLDFATHER, L.L.P.
        215 Mathews Street, Suite 300
        Fort Collins, CO 80524                                   Division:     Courtroom:
        Phone:       (970) 221-2637
        Fax:         (970) 221-2638
        Email:       rsprague@clinewilliams.com
                                         COMPLAINT

            COMES NOW, Plaintiff Noble Trucking, LLC, a Colorado limited liability
      company, and in support of its claims against Defendant TriCore Sales, Inc., a
      Texas corporation, hereby states and alleges as follows:

                                          PARTIES

             1.    Plaintiff Noble Trucking, LLC is a Colorado limited liability company
      with its principal place of business at 135 S. Howes St., Suite 800, Fort Collins,
      CO 80528 (“Noble”).

            2.    Defendant TriCore Sales, Inc. is a Texas corporation, with its
      principal address at 3108 S. Hwy. 349, Midland, TX 79706 (“TriCore”).
          Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 5 of 30




                                     VENUE

       3.    The Court has jurisdiction over Plaintiff’s claims and Defendant
pursuant to Colo. Const., Art. VI §1 and § 9 as a court of general jurisdiction in
a civil matter.

      4.    Venue in this Court is proper under C.R.C.P. 98(c) because the
contract and transactions that are the subject of this action were performed in
Larimer County, Colorado.

                                     FACTS

     5.    Noble operates a trucking and transportation business in North
Dakota, Wyoming, and Colorado.

      6.    Upon information and belief, TriCore operates a trailer sales and
service business that transacts business in multiple states, including Colorado.

     7.    From January 2019 to March 2019, Noble purchased 20 new 165
BBL Ace vacuum trailers (the “Trailers”).

      8.    The Trailers were purchased in three batches of 10 Trailers each,
and TriCore issued an Invoice for each purchase that included the terms for each
purchase (collectively, the “Invoices”). A copy of the Invoices are attached hereto
as Exhibit A.

      9.    The Invoices state that the Trailers, as new equipment, would be
“covered by the manufacturer’s warranty.”

     10. Item 5. in each of the Invoices also states as follows: “Warranty (12
months): Service provided by TRICORE at trailer location” (the “Warranty”),
which was a specifically negotiated term of the purchases in January 2019.

      11. Upon purchase of each of the Trailers, TriCore provided no
additional documentation regarding the purchase of the Trailers and related
warranty.

       12. At the time of the purchase, Noble disclosed to TriCore that the
trailers would be used in Noble’s business operations in North Dakota, Wyoming,
and Colorado.

       13. In May 2019, certain Trailers began having issues with internal liner
failure (individually, a “Defect” and collectively, the “Defects”).
            Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 6 of 30




      14.    A Defect was identified in 11 Trailers within 12 months of purchase.

      15. Promptly after identification and within the 12 months after
purchase of the Trailers, Noble notified TriCore of the Defects and demanded the
Defects be remedied under the Warranty.

       16. After Noble notified TriCore of the Defects, representatives of Noble
and TriCore engaged in communications regarding Warranty service on the
Trailers with Defects, which are located in Williston, North Dakota.

       17. TriCore admitted in multiple communications that the Defects were
covered under the Warranty and Warranty service would be provided at the
location of the Trailers at no cost to Noble.

      18. As recently as April 15, 2021, TriCore representative Jacob Friesen
e-mailed Noble the following: “Yes, as I said yesterday. We’ll fix all the liner issues
at no charge.”

      19. After agreeing to provide the Warranty service for the Defects at no
charge to Noble, TriCore demanded in June 2021 that the Warranty service be
performed at TriCore’s facility in Midland, Texas, with Noble to coordinate and
pay all of the costs of transporting the Trailers back-and-forth between Williston,
North Dakota and Midland, Texas.

       20. Noble objected to being required to pay the cost of transport for
Warranty service, as the Warranty requires TriCore to provide Warranty service
at the Trailers’ location and TriCore admitted that it would provide the Warranty
service for the Defects at no charge to Noble.

      21. As of the date of this Complaint, TriCore has not provided the
Warranty service for the Defects and continues to demand Noble coordinate and
pay the cost to transport the Trailers with Defects between Williston, North
Dakota and Midland, Texas for Warranty service.

                            FIRST CAUSE OF ACTION
                             (Declaratory Judgment)

      22.    Noble incorporates all prior paragraphs as if fully stated herein.

      23. Pursuant to C.R.C.P. 57 and the Colorado Declaratory Judgments
Law, C.R.S. §§ 13-51-101 through 13-51-115, the Court has the power to declare
            Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 7 of 30




rights, status, and other legal relations, whether further relief is or could be
claimed.

      24. Pursuant to the Invoices and subsequent communication, TriCore
agreed to provide Warranty Service for the Trailers at the location of the Trailers
and without cost to Noble.

      25. Noble is entitled to a declaration that TriCore must provide Warranty
service at the location of the Trailers at no cost to Noble.

                          SECOND CAUSE OF ACTION
                             (Breach of Contract)

      26.    Noble incorporates all prior paragraphs as if fully stated herein.

      27. Noble and TriCore had a valid and binding contract for the Warranty
service to be performed on the Trailers with Defects at the Trailers’ location and
at no cost to Noble.

      28. Noble substantially performed its duties under the contract with
TriCore by payment of the purchase price for the Trailers.

       29. TriCore failed to perform under, and breached, the contract with
Noble by failing to perform Warranty Service on Trailers with Defects at the
location of the Trailers and at no cost to Noble as agreed under the contract.

      30. As a direct and proximate result of TriCore’s failure to meet its
obligations under its contract with Noble, Noble has been deprived of services
owed it and damages to the Trailers with Defects.

      31. Noble is entitled to recover damages incurred for TriCore’s breach of
contract, along with statutory pre-judgment and post-judgment interest, and
costs of this action.

                           THIRD CAUSE OF ACTION
                             (Promissory Estoppel)

      32.    Noble incorporates all prior paragraphs as if fully stated herein.

       33. TriCore promised to provide Warranty services on the Trailers at the
Trailers’ location and at no cost to Noble.
            Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 8 of 30




     34. TriCore was aware that such promises would induce Noble to
purchase the Trailers.

     35. Noble reasonably relied on TriCore’s promise to provide such
Warranty service.

      36. These circumstances make it unfair and unjust not to enforce
TriCore’s promise to provide such Warranty Service to Noble.

       37. Noble is entitled to enforce the promise made by TriCore by requiring
TriCore to provide Warranty service on the Trailers with Defects at the Trailers’
location and at no cost to Noble, as induced by TriCore and reasonably relied
upon by Noble, along with statutory pre-judgment and post-judgment interest,
and costs of this action.

                          FOURTH CAUSE OF ACTION
                             (Unjust Enrichment)

      38.    Noble incorporates all prior paragraphs as if fully stated herein.

      39. TriCore received a benefit from Noble of the purchase of the Trailers
subject to the Warranty.

       40. The benefit received by TriCore was provided at Noble’s expense and
on the agreement that Warranty service would be provided at the Trailers’
location and at no cost to Noble.

      41. TriCore has been unjustly enriched by the benefit received from
Noble, and it would be unjust for EDOG to retain the benefit received without
commensurate compensation to Noble.

      42. Noble is entitled to commensurate compensation for the benefit
received by TriCore for Noble’s purchase of the Trailers without being provided
the Warranty service agreed to by TriCore, along with statutory pre-judgment
and post-judgment interest, and costs of this action.

                             PRAYER FOR RELIEF

       Noble respectfully requests that the Court enter judgment in favor of Noble
as follows:
               Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 9 of 30




                  a. Declaring TriCore responsible to provide Warranty service to the
                     Trailers with Defects at the Trailers’ location and at no cost to
                     Noble;

                  b. Ordering TriCore to provide Warranty service to the Trailers with
                     Defects at the Trailers’ location and at no cost to Noble;

                  c. Awarding Noble damages in an amount to be determined at trial;

                  d. Awarding Noble statutory pre-judgment and post-judgment
                     interest;

                  e. Awarding Noble costs of this action and reasonable attorney fees;
                     and

                  f. Entering such further relief as the Court deems appropriate or
                     proper.


         Respectfully submitted this 30th day of July, 2021.


                                          /s/ Russell J. Sprague
                                          Russell J. Sprague – Atty. Reg. 40558
                                          CLINE WILLIAMS WRIGHT JOHNSON &
                                          OLDFATHER, L.L.P.
                                          Attorney for Plaintiff Noble Trucking, LLC
Plaintiff’s Address:
125 S. Howes St., Suite 800
Fort Collins, CO 80524

Attorney’s original signature on file at the Fort Collins office of Cline Williams
Wright Johnson & Oldfather, L.L.P. pursuant to C.R.C.P. 121 §1-26




4850-6610-7631, v. 3
                    Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 10 of 30
DEF'S EXHIBIT 2



       District Court, Larimer County, Colorado
       201 La Porte Ave., Suite 100
       Ft. Collins, CO 80521                                                     DATE FILED: November 16, 2021
                                                                                 CASE NUMBER: 2021CV30541
       Plaintiff:    NOBLE TRUCKING, LLC                                                A COURT USE ONLY A
                                                                                       Case No. 2021CV30541
       v.

       Defendants: TRICORE SALES, INC.                                                 Division: 3B

                       ORDER GRANTING MOTION FOR DEFAULT JUDGMENT


                Plaintiff Noble Trucking, LLC (“Noble”) filed a Modon for Default Judgment (“Mot.”)

        against defendant Tricore Sales, Inc. (“Tricore”). The Court, having considered the motion,

        affidavits, and exhibits, makes the following findings of fact and conclusions of law:

        1.      Noble is a limited-liability company with its principal place of business at Fort Collins,

                Colorado. Compl.      1.

        2.      Tricore is a corporation with its principal place of business at Midland, Texas. Id.          2.

        3.      Jurisdiction and venue are proper under Colo. Rev. Stat. § 13-l-124(l)(a) and Colo. R. Civ.

                P. 98(c)(2), respectively, as the dispute arises from acts that occurred in Colorado, see Compl.

                at 1—2; id. Ex. A.

        4.      Tricore agreed to ship twenty vacuum trailers to Noble, in Colorado. Compl. 1| 8; Ex. A.

        5.      Tircore stated that the trailers were covered under its warranty. Compl.         10; Ex. A at 1, 6.

        6.      Roughly two months later, eleven of the trailers began to malfunction, specifically from

                internal-liner failure. Compl.    13,14.

        7.      Shortly after, Noble requested that Tricore fix the defects as the warranty provided. Id.                15.

        8.      Tricore agreed to fix the defects, id.     17, 18, but wanted to do so at its facility, id.        19.
          Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 11 of 30




9.    The parties couldn’t agree on where to repair the trailers, and so on July 30, 2021, Noble

      filed a complaint with the Court, seeking damages, interest, costs, fees, and to have Tricore

      repair the trailers. See Compl. at 6.

10.   On August 3, 2021, Noble personally served Tricore. See Waiver and Acceptance of Serv. of

      Compl.

11.   Under Colo. R. Civ. P. 12(a)(2), Tricore had to file a response by September 7, 2021.

12.   Tricore has failed to appear or respond to United’s complaint as required under Rule

      12(a)(2). Mot. H 5.

13.   On September 10, 2021, the Court ordered Noble to either seek entry of default judgment or

      file a status report explaining why it hadn’t. See Order for Mot. for Default J. or Status

      Report.

14.   The following week, Noble filed a status report stating that Tricore contacted Noble to

      discuss filing an extension of time to respond to the complaint. Status Report ffl] 4, 5.

15.   On October 14, 2021, Tricore failed to request an extension and Noble failed to seek entry

      of default, so the Court ordered the Noble to either seek default or show cause as to why the

      case shouldn’t be dismissed. See Order to Show Cause.

16.   That spurred Noble into action, and it filed a motion for default judgment later that day. See

      Mot.

17.   The Clerk of Court entered default on October 15, 2021. See Clerk’s Entry of Default; Colo.

      R. Civ. P. 55(a).

18.   Default of a party who fails to answer within the required time establishes the defaulting

      party’s liability and admits the allegations in the complaint. See Dickinson v. Uncoln Bldg. Corp.,

      378 P.3d 797, 805 (Colo. App. 2015); Orebaugh v. Doskocil, 359 P.2d 671, 673 (Colo. 1961).




                                                   2
            Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 12 of 30




19.     Because Tricore has failed to appear, respond, or repair the trailers, it breached the warranty

        agreement. See Compl. at 6; Ex. A; Dickinson, 378 P.3d at 805.

20.     There’s no just reason for Tricore’s delay. See Colo. R. Civ. P. 54(b).

21.     Tricore isn’t an infant, incompetent person, officer or agent of the State of Colorado, or in

         the military service. Mot. Ex. A Aff. of RusselJ. Sprague ^ 6.

22.     Tricore owes Noble the following amounts:

        $97,214.17      Damages. Mot. Ex. B Aff. of Jeffrey Jensen        10.

        $18,579.89      Prejudgment interest. Mot.      13.

        $283.00         Costs. Aff. of Jeffrey Jensen Ex. 1 at 1.

        $116,077.06     Total. Mot. at 4.

        Accordingly, Noble’s motion for default judgment is granted. The Court orders that default

judgment is entered in favor of Noble and against Tricore for the total amount owed: $116,077.06.

The judgment is to be paid immediately and will accrue postjudgment interest at the statutory rate of

8 percent pursuant to Colo. Rev. Stat. § 5-12-102(l)(b).

      SO ORDERED on November 16, 2021.

                                                         BY THE COURT:




                                                         District Court Judge




                                                    3
DEF'S EXHIBIT 3 Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 13 of 30


  COTTON                                                                                      Itost Office Box 2776
  BLEDSOE                                                                                     Midland, Texas 79702-2776
                                                                                              500 West Illinois, Suite 300
  TIGHE &                                                                                     Midland. Texas 79701
                                                                                              (432) 684-5782
  DAWSON, PC                                                                                  (432) 682-3672 Fox
  Attorneys at Law                                                                            mvw’.cotlonbled soe.com


  Trevor O. Chilton • ATTORNEY • 432.687.8689 • 432.684.3175 DIRECT FAX • tchilton@cbtd.com

                                                     March 23,2022

          VIA CMRRR: 7019 0160 0000 8684 9683
         United States Corporation Agents, Inc.
         9900 Spectrum Drive
         Austin, Texas 7817

                 Re:     Cause No. CC24144: Noble Trucking, LLC v. Tricore Sales, Inc.; In the County
                         Court at Law of Midland County, Texas

         To Whom It May Concern:

                Enclosed please find a Petition for the Enforcement of Foreign Judgment, Notice of Filing
         of Foreign Judgment, and Order of Judgment in the above-referenced matter.

                 Should you have any questions or concerns, please feel free to contact me.

                                                                 Sincerely,

                                                         COTTON, BLEDSOE, TIGHE & DAWSON, P.C.

                                                                 /s/ Trevor 0. Chilton

                                                                    Trevor O. Chilton

         TOC/rr
         Enclosures




  MIDIAND\016808\000001\3039572.1
                   Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 14 of 30
Midland County - District Clerk - County Court at Law Court                               Filed 3/22/2022 10:27 AM
                                                                                                      Alex Archuleta
                                                                                                        District Clerk
                                                                                             Midland County, Texas
                                        cause     ncPC24 144                                  /s/ Roxanna Galindo

    NOBLE TRUCKING, LLC,
                                                                           IN TIIE DISTRICT COURT
        Plaintiff,
                                                         §
    v.                                                   §                        JUDICIAL DISTRICT-
                                                         §
    TRICORE SALES, INC.,                                 §
         Defendant.                                      §
                                                                         MIDLAND COUNTY, TEXAS
                                                         §

                               PLAINTIFF’S ORIGINAL PETITION FOR
                              ENFORCEMENT OF FOREIGN JUDGMENT

   TO THE HONORABLE JUDGE OF SAID COURT:

           COMES NOW, NOBLE TRUCKING, LLC (“Noble” or “Plaintiff’) and files this, its

   Original Petition for Enforcement of Foreign Judgment against TRICORE SALES, INC. (“Tricore”

   or “Defendant”), and as grounds therefore would respectfully show the Court as follows:

                                                        I.
                                            DISCOVERY LEVEL

            1.01     Plaintiff intends to conduct discovery in this case under Level 1.

                                                     II.
                                                   PARTIES

           2.01      Noble is a Colorado limited liability company with a principal place of business in Fort

   Collins, Colorado. Noble is registered with the Department of Transportation to operate throughout the

   United States.

           2.02      Tricore is a Texas corporation who may be served by and through its Registered Agent,

   United States Corporation Agents, Inc., at 9900 Spectrum Drive, Austin, TX 78717, or wherever it

   may be found.




   Ml DLAN D\016808\000001\300542 6.1
                 Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 15 of 30




                                              III.
                                    JURISDICTION AND VENUE

          3.01     This Court has subject matter jurisdiction pursuant to Tex. Civ. Prac. & Rem. Code §

35.003.

          3.02     Venue is this matter is proper in Midland County, Texas because Tricore maintains its

principle place of business in Midland County.

                                       IV.
                      FACTUAL BACKGROUND AND CAUSE OF ACTION

          4.01     On November 16, 2021, in the case styled Noble Trucking, LLC v. Tricore Sales, Inc.,

the District Court of Larimer County, Colorado entered an order granting motion for default judgment

in favor of Plaintiff and against Defendant, in the amount of $116,077.06, plus post-judgment interest

at the rate of 8% until paid (“the Colorado Judgment”). A true and correct copy of the Colorado

Judgment is attached hereto as Exhibit “A.”

          4.02     Plaintiff seeks to domesticate the Colorado Judgment pursuant to the Uniform

Enforcement of Foreign Judgment Act codified by Tex. Civ. Prac. & Rem. Code Chapter 35.

          4.03     The Colorado Judgment is final and appealable in all respects. Plaintiff intends to

collect on the Colorado Judgment accordingly. An affidavit showing the last known addresses of

Plaintiff and Defendant signed by Jeffrey P. Jensen, is attached hereto as Exhibit “B.”

                                                PRAYER

          WHEREFORE, Plaintiff, Noble Trucking, LLC, respectfully prays that the Court domesticate

the Colorado Judgment pursuant to the Uniform Enforcement of Foreign Judgments Act; award

Plaintiff such relief as it was granted therein against Defendant, Tricore Sales, Inc.; and for any such

other and further relief, at law or in equity, to which Noble may show itselfjustly entitled.




MIDLAND\016808\000001\3005426.1
           Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 16 of 30




                                    Respectfully submitted,

                                    COTTON, BLEDSOE, TIGHE & DAWSON, P.C.
                                    P. O. Box 2776
                                    Midland, Texas 79702
                                    (432) 684-5782
                                    (432) 682-3672 Fax

                                    By: is/ Trevor O. Chilton________________
                                    Sarah A. Judge
                                    State Bar No. 24080968
                                    siudge@cbtd.com
                                    Trevor O. Chilton
                                    State Bar No. 24125171
                                    tchilton@cbtd.com

                                    ATTORNEYS FOR PLAINTIFF, NOBLE
                                    TRUCKING, LLC




MIDLAND\016808\000001\3005426.1
            Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 17 of 30




                                  Exhibit “A”




MIDLAND\016808\000001\3005426.1
      Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 18 of 30




DISTRICT COURT, LARIMER COUNTY, COLORADO
                                              DATE FILED: March 11, 2022 8:51 AM
Court Address:                                CASE NUMBER: 2021CV30541
Larimer County Courthouse
201 Laporte Avenue Suite 100                        Case Number: 21CV-030541
Fort Collins, CO 80521-0000                         Div.: 3B


Plaintiff:   NOBLE TRUCKING LLC,

Defendant:   TRICORE SALES INC,



                           TRANSCRIPT OF JUDGMENT


Original Judgment Amount:    $116,077.06 Judgment Date: November 16, 2021
Revived Judgment Amount:             $.00 Judgment Date:
Judgment Status:    UNSATISFIED

Additional Remarks:
8% INTEREST

Debtor(s):   TRICORE SALES INC, 3108 S Hwy 349, Midland, TX 79706

Creditor(s): NOBLE TRUCKING LLC, 135 S Howes Street, Suite 800,
             Fort Collins, CO 80528




Balance of Judgment to Date:               $116,077.06

I hereby certify that the above is a true and complete transcript of the
judgment in the above-referenced case which is retained in my office.




DATE: March 11   2022
             Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 19 of 30




District Court, Larimer County, Colorado
201 La Porte Ave., Suite 100
Ft. Collins, CO 80521                                                     DATE FILED: November 16, 2021
                                                                          CASE NUMBER: 2021CV30541
Plaintiff:    NOBLE TRUCKING, LLC                                                A COURT USE ONLY A
                                                                                Case No. 2021CV30541
v.

Defendants: TRICORE SALES, INC.                                                 Division: 3B

                ORDER GRANTING MOTION FOR DEFAULT JUDGMENT


         Plaintiff Noble Trucking, LLC (“Noble”) filed a Modon for Default Judgment (“Mot.”)

 against defendant Tricore Sales, Inc. (“Tricore”). The Court, having considered the motion,

 affidavits, and exhibits, makes the following findings of fact and conclusions of law:

 1.      Noble is a limited-liability company with its principal place of business at Fort Collins,

         Colorado. Compl.      1.

 2.      Tricore is a corporation with its principal place of business at Midland, Texas. Id.          2.

 3.      Jurisdiction and venue are proper under Colo. Rev. Stat. § 13-l-124(l)(a) and Colo. R. Civ.

         P. 98(c)(2), respectively, as the dispute arises from acts that occurred in Colorado, see Compl.

         at 1—2; id. Ex. A.

 4.      Tricore agreed to ship twenty vacuum trailers to Noble, in Colorado. Compl. 1| 8; Ex. A.

 5.      Tircore stated that the trailers were covered under its warranty. Compl.         10; Ex. A at 1, 6.

 6.      Roughly two months later, eleven of the trailers began to malfunction, specifically from

         internal-liner failure. Compl.    13,14.

 7.      Shortly after, Noble requested that Tricore fix the defects as the warranty provided. Id.                15.

 8.      Tricore agreed to fix the defects, id.     17, 18, but wanted to do so at its facility, id.        19.
          Case 7:22-cv-00096 Document 1 Filed 04/21/22 Page 20 of 30




9.    The parties couldn’t agree on where to repair the trailers, and so on July 30, 2021, Noble

      filed a complaint with the Court, seeking damages, interest, costs, fees, and to have Tricore

      repair the trailers. See Compl. at 6.

10.   On August 3, 2021, Noble personally served Tricore. See Waiver and Acceptance of Serv. of

      Compl.

11.   Under Colo. R. Civ. P. 12(a)(2), Tricore had to file a response by September 7, 2021.

12.   Tricore has failed to appear or respond to United’s complaint as required under Rule

      12(a)(2). Mot. H 5.

13.   On September 10, 2021, the Court ordered Noble to either seek entry of default judgment or

      file a status report explaining why it hadn’t. See Order for Mot. for Default J. or Status

      Report.

14.   The following week, Noble filed a status report stating that Tricore contacted Noble to

      discuss filing an extension of time to respond to the complaint. Status Report ffl] 4, 5.

15.   On October 14, 2021, Tricore failed to request an extension and Noble failed to seek entry

      of default, so the Court ordered the Noble to either seek default or show cause as to why the

      case shouldn’t be dismissed. See Order to Show Cause.

16.   That spurred Noble into action, and it filed a motion for default judgment later that day. See

      Mot.

17.   The Clerk of Court entered default on October 15, 2021. See Clerk’s Entry of Default; Colo.

      R. Civ. P. 55(a).

18.   Default of a party who fails to answer within the required time establishes the defaulting

      party’s liability and admits the allegations in the complaint. See Dickinson v. Uncoln Bldg. Corp.,

      378 P.3d 797, 805 (Colo. App. 2015); Orebaugh v. Doskocil, 359 P.2d 671, 673 (Colo. 1961).




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19.     Because Tricore has failed to appear, respond, or repair the trailers, it breached the warranty

        agreement. See Compl. at 6; Ex. A; Dickinson, 378 P.3d at 805.

20.     There’s no just reason for Tricore’s delay. See Colo. R. Civ. P. 54(b).

21.     Tricore isn’t an infant, incompetent person, officer or agent of the State of Colorado, or in

         the military service. Mot. Ex. A Aff. of RusselJ. Sprague ^ 6.

22.     Tricore owes Noble the following amounts:

        $97,214.17      Damages. Mot. Ex. B Aff. of Jeffrey Jensen        10.

        $18,579.89      Prejudgment interest. Mot.      13.

        $283.00         Costs. Aff. of Jeffrey Jensen Ex. 1 at 1.

        $116,077.06     Total. Mot. at 4.

        Accordingly, Noble’s motion for default judgment is granted. The Court orders that default

judgment is entered in favor of Noble and against Tricore for the total amount owed: $116,077.06.

The judgment is to be paid immediately and will accrue postjudgment interest at the statutory rate of

8 percent pursuant to Colo. Rev. Stat. § 5-12-102(l)(b).

      SO ORDERED on November 16, 2021.

                                                         BY THE COURT:




                                                         District Court Judge




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                                  Exhibit “B”




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                             AFFIDAVIT OF JEFFREY P. JENSEN

COUNTY OF WILLIAMS                    §
                                      §
STATE OF NORTH DAKOTA                 §

        BEFORE ME, the undersigned authority, on this day personally appeared Jeffrey P. Jensen,

known to me to be the person whose name and signature appear below, and after first being duly

sworn by me, stated upon his oath, the following:

        “My name is Jeffrey P. Jensen. I am over 18 years of age, of sound mind, I have never been

convicted of a felony offense, and am otherwise capable of making this affidavit. The statements

in this affidavit are based on my personal knowledge, and they are true and correct.

        I am the Chief Business Officer of Noble Trucking, LLC (“Noble”), and am authorized to

make this affidavit on its behalf. On November 16, 2021, the District Court in Larimer County,

Colorado entered default judgment in favor of Noble, the judgment creditor, against Tricore Sales,

Inc. (“Tricore”), the judgment debtor, in the amount of $116,077.06, plus post-judgment interest

at the rate of 8% until paid. An exemplified copy of the Final Judgment will be filed with the clerk

of the above captioned court pursuant to Chapter 35 of the Texas Civil Practice and Remedies

Code.

        I hereby certify that as of March 10, 2022, the last known address of Noble’s registered

agent, Troy Johnson, is as follows:

        14079 Highway 2
        Williston ND 58801

        I hereby certify that as of March 10, 2022, the last known address of Tricorc’s registered

agent, United States Corporation Agents, Inc., is as follows:

        9900 Spectrum Drive
        Austin, TX 78717



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         Affiant sayeth nothing further.”

                                                                              (mJi -
                                                                               Jleffrey P. Jensen

                                                                   aft
    SUBSCRIBED AND SWORN TO before me on this the             1C     day of       2022.


                    ^            IAURAWARD
                    '            Notary Public
                             State of North Dakota
                   4 _MV Commission Expires Janumy 37, 2023                     otary Public




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                                                                              Filed 3/22/2022 4:46 PM
                                            CC24144                                   Alex Archuleta
                                                                                        District Clerk
                                                                             Midland County* Texas
                                      CAUSE NO. CC24144                            Is/ Roxanna'Galinao

   NOBLE TRUCKING, LLC,                         §                 IN THE COUNTY COURT
       Plaintiff,                               §
                                                §
   v.                                           §
                                                §                                  AT LAW
   TRICORE SALES, INC.,                         §
        Defendant.                              §
                                                §
                                                §            MIDLAND COUNTY, TEXAS
                                                §


                       NOTICE OF FILING OF FOREIGN JUDGMENT

TO:     Tricore Sales, Inc., by and through its Registered Agent, United States Corporation
        Agents, Inc., 9900 Spectrum Drive, Austin, TX 78717.

        You are hereby notified that on March 22, 2022, the judgment creditor, Noble Trucking,

LLC, (hereinafter called “Judgment Creditor”), filed with this Court and under the cause number

shown above an authenticated copy of a judgment for domestication under Chapter 35 of the Texas

Civil Practice and Remedies Code, the Uniform Enforcement of Foreign Judgments Act. The

judgment names Tricore Sales, Inc. (hereinafter, “Judgment Debtor”) as the judgment debtor and

was rendered by the District Court of Larimer County, Colorado.

        The Judgment was rendered on November 16, 2021, in the case styled Noble Trucking,

LLC v. Tricore Sales, Inc., filed as Case No. 2021CV30541 in the District Court of Larimer

County, Colorado.

        The name and last known post office address of Judgment Debtor is:

                Tricore Sales, Inc.
                3108 S. State Highway 349
                Midland, TX 79706-4056

        The name and last known post office address of the Judgment Creditor is:

                Jeff Jensen
                Noble Trucking, LLC


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                125 Howes St., Suite 800
                Fort Collins, CO 80521

        The name and address of the judgment creditor’s attorneys in Texas are:

                Sarah A. Judge
                State Bar No. 24080968
                Trevor O. Chilton
                State Bar No. 24125171
                Cotton, Bledsoe, Tighe & Dawson, P.C.
                500 West Illinois, Suite 300
                P.O. Box 2776
                Midland, Texas 79702

                                           Respectfully submitted,

                                           COTTON, BLEDSOE, TJGIIE & DAWSON
                                           A Professional Corporation
                                           P. O. Box 2776
                                           Midland, Texas 79702
                                           (432) 684-5782
                                           (432) 682-3672 (Fax)

                                           By: /s/ Sarah A. Judge______________________
                                               Sarah A. Judge
                                               State Bar No. 24080968
                                               siudge@cbtd.com
                                               Trevor O. Chilton
                                               State Bar No. 24125171
                                               tchilton@cbtd.com

                                              ATTORNEYS FOR JUDGMENT CREDITOR




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                                  CERTIFICATE OF SERVICE


        I hereby certify that on March 22, 2022, a true and correct copy of the above Notice of
Filing of Foreign Judgment has this day been sent by certified mail, return receipt requested, and
by regular first class mail, to the judgment debtor, and their registered agent, as shown below.

                Tricore Sales, Inc.
                3108 S. State Highway 349
                Midland, TX 79706-4056

                United States Corporation Agents, Inc.
                9900 Spectrum Drive
                Austin, TX 78717



                                                    /s/ Trevor O. Chilton
                                                    Trevor O. Chilton




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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Rosalinda Ramos on behalf of Trevor Chilton
Bar No. 24125171
rramos@cbtd.com
Envelope ID: 62850463
Status as of 3/23/2022 9:26 AM CST

Associated Case Party: LLCNOBLE TRUCKING

Name          BarNumber   Email             TimestampSubmitted     Status

Rosie Ramos               rramos@cbtd.com   3/22/2022 4:46:02 PM   SENT
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